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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



 SUZANNE SOMERS, and SLC SWEET, INC.,
               Plaintiffs,

        v.                                           Civil Action No. 2:19-cv-04773-CFK

 QVC, INC.,                                              JURY TRIAL DEMANDED
               Defendant.


                                          ORDER

       AND NOW, this _____ day of _______________, 2021, upon consideration of

Defendant QVC, Inc.’s Motion for Reconsideration, it is hereby ORDERED that (1) the Court’s

August 9, 2021 Order and Memorandum Opinion (ECF Nos. 102 and 103), which granted and

denied in part Plaintiffs’ Motion to Compel (ECF No. 57) are VACATED, and (2) Plaintiffs’

Motion to Compel is DENIED.



                                                 _________________________________
                                                 The Honorable Chad F. Kenney
                                                 U.S. District Court Judge
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



 SUZANNE SOMERS, and SLC SWEET, INC.,
               Plaintiffs,

        v.                                             Civil Action No. 2:19-cv-04773-CFK

 QVC, INC.,                                                JURY TRIAL DEMANDED
               Defendant.



             DEFENDANT QVC, INC.’S MOTION FOR RECONSIDERATION
                OF COURT’S MEMORANDUM OPINION AND ORDER
              GRANTING PLAINTIFF’S MOTION TO COMPEL IN PART


       Defendant QVC, Inc. moves the Court to reconsider and vacate its August 9, 2021 Order

and Memorandum Opinion (ECF Nos. 102 and 103), which granted and denied in part Plaintiffs’

Motion to Compel (ECF No. 57), and instead deny Plaintiffs’ Motion to Compel in its entirety.

In support of this motion, QVC relies on and incorporates herein the accompanying

memorandum of law.
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Dated: August 18, 2021               Respectfully submitted,

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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA



SUZANNE SOMERS, and SLC SWEET, INC.,
             Plaintiffs,

      v.                                  Civil Action No. 2:19-cv-04773-CFK

QVC, INC.,                                   JURY TRIAL DEMANDED
             Defendant.


 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT QVC, INC.’S MOTION
FOR RECONSIDERATION OF COURT’S MEMORANDUM OPINION AND ORDER
        GRANTING PLAINTIFF’S MOTION TO COMPEL IN PART
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       Defendant QVC, Inc. (“QVC”) files this limited Motion for Reconsideration and/or

Clarification regarding this Court’s Memorandum Opinion (ECF No. 102) and Order (ECF No.

103), entered on August 9, 2021, that granted in part and denied in part Plaintiffs’ Motion to

Compel (ECF No. 57).


                                       INTRODUCTION


               In the Opinion and Order, this Court (1) ruled that the joint-client privilege

protected from disclosure 28 of 29 documents comprising the basis of the in camera submission

and (2) asked QVC whether it expected to assert a “reliance of advice of counsel defense.”

QVC’s Motion for Reconsideration and/or Clarification addresses both of those points. First,

the Opinion, at page 8, states: “Communications between Mr. Gassett and QVC employees

concerning [HSNi, LLC’s] agreement or relationship [with] Mr. Lessman—such as Document

3019—must be produced.” QVC asks this Court to reconsider its privilege ruling. While this

ruling affects only Document 3019 in this case, it minimizes the legitimate legal interest sister

entities have in each other’s contractual obligations.1 Although the Opinion notes that QVC’s

brief did not specifically address the shared interest between QVC and HSN that triggers the

joint-client privilege, the briefing schedule provided for the submission of legal memoranda

before the identification and submission of the documents for in camera review and Plaintiffs

“did not identify a single document [in the motion] to challenge its inclusion.” QVC’s Opp’n to

Mot. Compel (“Opp’n”) at 11. Document 3019 (submitted under Tab M of the stipulated in

camera review documents) facially shows that QVC and HSN had a shared interest in ensuring


1
       QVC has reviewed the 29 documents submitted to the Court for in camera review and the
       larger group of 768 documents on QVC’s privilege log that Plaintiffs’ motion challenges
       and has identified no other documents concerning the Lessman agreement or relationship.
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that a vendor’s contract rights at HSN did not preclude QVC from entering vendor contracts in

the same product space. Second, although QVC will not rely on an “advice of counsel defense,”

it anticipates offering relevant non-privileged communications made by Christopher Gassett,

Esq. and Donna Brown, Esq. in the course of their communications with Plaintiffs.


                                          ARGUMENT


I.     THE JOINT-CLIENT PRIVILEGE APPLIES TO DOCUMENT NO. 3019.


       This Court should reconsider its decision that the joint-client privilege does not protect

Document No. 3019 from production because the document reflects a QVC businessperson’s

request to in-house counsel for legal advice regarding whether the exclusivity in an HSN

vendor’s contract would impact QVC. This Court reasoned—consistent with QVC’s position

regarding the legal standard—that it must determine on a document-by-document basis whether

a communication provides legal advice over which QVC and HSN share a legal interest. “The

joint-client privilege can protect communications between employees of affiliated companies and

centralized in-house legal team from disclosure.” Op. at 6 (citing In re Teleglobe Commc’ns

Corp., 493 F.3d 345, 362 (3d Cir. 2007), as amended (Oct. 12, 2007)); Opp’n at 11 (“It is

noteworthy that Plaintiffs do not identify a single document on the privilege log to challenge its

inclusion.”). “The party asserting the joint-client privilege must show both that the

communication is a privileged attorney-client communication and that the clients are or shared a

common legal interest.” Op. at 6; see also Opp’n at 5. This Court’s analysis is not categorical,

but instead looks to whether the specific “communication [is] primarily or predominantly of a

legal character.” Op. at 7; see also Opp’n at 11. QVC does not dispute this standard for




                                                 2
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applying the joint-client privilege; instead, QVC seeks reconsideration of this Court’s application

of that standard to the single document it impacts.


       Applying the legal standard this Court identified in its Opinion to Document 3019 shows

that QVC and HSN share a legal interest that triggers the joint-client privilege.2 The e-mail

chain in Document 3019, on its face, makes clear that QVC Vice-President Rob Robillard sought

information about the exclusivity terms of an HSN vendor agreement to better understand

whether QVC (now an HSN affiliate) was contractually prohibited from selling competing

products. This is consistent with other emails Robillard and his subordinate Rich Yoegel sent in

that time period seeking information whether the HSN vendor’s exclusive agreement was

binding on QVC. See QVC_00037036, attached as Ex. 9 to Plaintiffs’ Motion for Summary

Judgment (ECF 65-13). Thus, QVC’s business people were doing the right thing: asking in-

house counsel when they had questions about their obligations under an agreement with a sister

company. This is precisely the interrelated nature of sister-company contractual relationships

that the joint-client privilege should and does protect. It is also consistent with the body of case

law holding that the joint-client privilege applies in all settings where legal advice is provided

other than when the corporate family members have adverse interests (like in a bankruptcy).




2
       Although the Court suggested that QVC’s brief did not articulate the shared legal interest
       between QVC and HSN as to communications involving contract interpretation (like
       Document 3019) (Op. at 8), QVC at the time of filing its brief had not yet had the Court-
       mandated meet and confer (see Court Order of May 4, 2021 setting the brief schedule,
       ECF No. 58), nor had it received a list of the specific documents Plaintiffs were looking
       to submit to the Court. Plaintiffs’ submissions before or after the meet and confer did not
       raise any argument on communications involving contract interpretation, and did not
       discuss Document 3019 (and QVC’s briefs necessarily focused on those arguments raised
       in Plaintiffs’ submissions).



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Thus, QVC requests that the Court reconsider and hold that the joint-client privilege covers

Document 3019.


II.    QVC IS NOT ASSERTING AN “ADVICE OF COUNSEL” DEFENSE.


       This Court asked whether QVC intends to assert a “good faith or reliance on advice of

counsel defense” at trial. QVC does not.


       The Opinion notes that “[A]dvice of counsel is placed in issue where the client asserts a

claim or defense, and attempts to prove that claim or defense by disclosing or describing an

attorney-client communication.” Op. at 10. QVC agrees that “Advice of counsel is not in issue

simply because it is relevant; the party invoking the privilege must take an ‘affirmative step’ to

place the advice of the attorney in issue.” Id. at 10-11 (citation omitted). QVC also agrees that it

“has argued that it did not breach its contract with Plaintiffs because the Plaintiffs’ claims rely on

breaches of obligations that are not found in language of their agreement.” Id. at 11. In other

words, none of the claims on which QVC has moved for summary judgment are impacted—and

Plaintiffs’ summary judgment briefing does not suggest otherwise—by the claims review

process, let alone by the contents of privileged communications. Even Count II, the only breach

of contract claim on which QVC has not moved for summary judgment, involves QVC’s return

or rejection of the goods on a timely basis and QVC does not intend to disclose the contents of

the privileged communication with respect to that count. Accordingly, QVC has not and does

not intend to assert such a claim or defense in the case.3



3
       Also, QVC has no intention to assert the defense that Gassett’s advice was given in good
       faith or that QVC relied on his advice in good faith. To the extent Plaintiffs intend to
       assert that Gassett took actions in bad faith that do not implicate the legal advice he gave,
       QVC should be allowed to rebut those assertions. See SmithKline Beecham Corp. v.


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       With this case proceeding to trial, however, it is important to note that the numerous

written and verbal communications between the parties are not privileged. For example,

Plaintiffs deposed Donna Brown from QVC’s legal department about the basis of her rejection of

certain advertising claims, and she testified about communicating those rejections and the basis

for them to Plaintiffs. Thus, QVC may offer evidence of its non-privileged communications with

Plaintiffs, whether or not those communications were made by counsel.4




       Apotex Corp., 2005 WL 2436662, at *4-5 (E.D. Pa. Sept. 28, 2005) (Surrick, J.) (holding
       that asserting a defense of good faith in response to an allegation of bad faith does not
       waive the attorney-client privilege).
4
       QVC understands that these issues may best be addressed through motions in limine and
       will address them in that context to assist the Court and the parties at trial. QVC also
       remains available to discuss this or any other issue regarding the privilege at any hearing
       or conference set by the Court.



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                                     CONCLUSION


     For all of these reasons, this Court should grant QVC’s Motion.


Dated: August 18, 2021                        Respectfully submitted,

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